Case 2:04-cr-20277-BBD Document 71 Filed 04/25/05 Page 1 of 2 Hage|D 58

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WESTERN DIVISION _ v g 5 o
UNITED sTATEs oF AMERICA, W-D» 0": “ N‘ i"ALN'PmS
Plaintiff,
vs. Case No. 04cr20277-D
JoHN ALBEA
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORI)ERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,

payable to John R. Albea at 7137 Abbey Cove, Mernphis, TN 38141 in full refund of the cash

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appearance bond posted hercin.

 

ited States District Judge

Approved.
Robert R. Di Trolio, Clerk of Court

BY: Z.AM»€//O"W

Deputy Clerk

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This notice confirms a copy of the document docketed as number 71 in
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Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

